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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a                §
BRAZOS LICENSING AND                       §
DEVELOPMENT,                               §
                                           §
Plaintiff,                                 §     Case No. 6:20-cv-585-ADA
                                           §
v.                                         §     JURY TRIAL DEMANDED
                                           §
GOOGLE LLC,                                §
                                           §
Defendant.                                 §


 GOOGLE’S MOTION FOR PARTIAL SUMMARY JUDGMENT UNDER 35 USC § 287
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                                        INTRODUCTION

       WSOU asserts apparatus claims against Google, and WSOU must therefore satisfy the

marking requirement of 35 U.S.C. § 287 in order to recover pre-suit damages. It cannot. There

is no dispute that WSOU licensed the ’961 patent to           without imposing marking

obligations, and there is no dispute that        offered to sell practicing products in the United

States without marking them with the ’961 patent. Finally, there is no dispute that WSOU did

not provide actual notice to Google before filing this action on June 29, 2020. Section 287 thus

bars WSOU from recovering pre-suit damages. Google therefore respectfully requests this Court

grant partial summary judgment.

                                            BACKGROUND

A.     WSOU Alleges All Android Devices With Google Maps Infringe Apparatus Claims

       WSOU does not identify any particular hardware or configuration of the accused devices

to support its theory of infringement of apparatus claims 11 and 14 of the ’961 patent, but rather

claims infringement because they are devices on which Google Maps is “installed and operated.”

Ex. 1 §§VII.E and VII.F. (All exhibits are to the concurrently filed declaration of Jennifer A.

Kash.) During his deposition, WSOU’s infringement expert, Tamás Budavári, confirmed that his

infringement opinions are not limited to any particular device. To the contrary, Dr. Budavári

admitted that he “cannot tell” whether screenshots in his

opinion showing Google Maps “were taken on Pixel

phones or other Android phones,” but that it did not affect

his infringement opinion, because those screenshots

“illustrate the features that I wanted to illustrate—and,

hence, must have all the components of the


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infrastructure—that was required to do it.” Ex. 2 at 175:18 to 176:22. But those screenshots,

reproduced here, simply show the operation of a Google Maps application. Ex. 1 Figs. 3-4, at

15. Dr. Budavári then confirmed that “the fact that they were able to produce these screenshots”

meant that a device “had the appropriate software stack and/or worked with the Google platform

so that they can do that.” Ex. 2 at 176:23 to 177:3. Thus, according to WSOU and confirmed by

its own testifying expert, when        offered to sell Android devices with Google Maps

pre-installed, those devices practiced the apparatus claims of the ’961 patent.




C.     WSOU Does Not Dispute the Date of Actual Notice to Google

       WSOU provided Google with actual notice of alleged infringement of the ’961 patent

only when WSOU filed its complaint on June 29, 2020. WSOU admits as much: Google’s

Interrogatory No. 11 asked WSOU to “state the entire factual basis for your contention, including

describing all facts upon which you base your contention that Defendant had notice of the

Patent-in-Suit,” and WSOU “incorporate[d] by reference Plaintiff’s complaint,” which states that

“Google has received notice and actual or constructive knowledge of the ‘961 Patent since at

least the date of service of this Complaint.” Ex. 6 at 3; Docket No. 1 ¶ 62.




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D.     WSOU Seeks Both Pre-Suit and Post-Suit Damages




                                            ARGUMENT

I.     Patent Plaintiffs Must Prove Marking to Recover Damages Before Actual Notice

       “If a patentee who makes, sells, offers for sale, or imports his patented articles has not

‘given notice of his right’ by marking his articles pursuant to the marking statute, he is not

entitled to damages before the date of actual notice.” Arctic Cat Inc. v. Bombardier Recreational

Prod. Inc., 876 F.3d 1350, 1366 (Fed. Cir. 2017) (quoting Dunlap v. Schofield, 152 U.S. 244, 248

(1894)); see VLSI Tech. LLC v. Intel Corp., No. 19-977, 2021 WL 2773013, at *4 (W.D. Tex.

Apr. 12, 2021). “A patentee’s licensees must also comply with § 287, because the statute extends

to ‘persons making or selling any patented article for or under [the patentee].’” Arctic Cat, 876

F.3d at 1366 (quoting Maxwell v. J. Baker, Inc., 86 F.3d 1098, 1111 (Fed. Cir. 1996)).

       “The patentee bears the burden of pleading and proving he complied with § 287(a)’s

marking requirement.” Arctic Cat, 876 F.3d at 1366. “[A]n alleged infringer who challenges the

patentee’s compliance with § 287 bears an initial burden of production to articulate the products

it believes are unmarked ‘patented articles’ subject to § 287,” but “this is a low bar. The alleged

infringer need only put the patentee on notice that he or his authorized licensees sold specific

unmarked products which the alleged infringer believes practice the patent.” Id. at 1368. “[I]n

the event of failure so to mark, no damages shall be recovered by the patentee in any action for

infringement, except on proof that the infringer was notified of the infringement and continued to

infringe thereafter.” 35 U.S.C. § 287(a).


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       Summary judgment of no pre-suit damages is appropriate where a patentee asserting

apparatus claims “has licensees who produce unmarked products that practice at least one claim

of” the asserted patent. Intell. Ventures II LLC v. Sprint Spectrum, L.P., 2019 WL 2959568, at *2

(E.D. Tex. 2019), report and recommendation adopted, 2019 WL 1987204 (E.D. Tex. 2019).

II.    WSOU Has Not Shown Marking of Products It Claims Practice the ’961 Patent

       WSOU failed to make a reasonable effort to ensure the mobile devices sold by

which practice claims 11 and 14 of the ’961 patent under WSOU’s theory of infringement,

comply with marking requirements.




                     There is further no dispute that        did not mark these products with the

’961 patent number and no dispute that WSOU failed to provide Google with any presuit notice.

       As a result, there are only two possible outcomes in this matter: either WSOU will

prevail on infringement, in which case for the reasons described above WSOU cannot meet its

“burden of pleading and proving [it] complied with § 287(a)’s marking requirement,” Arctic Cat,

876 F.3d at 1366 (citing Maxwell, 86 F.3d at 1111)—or, if Google prevails on non-infringement,

WSOU can collect no damages at all. But there is no outcome of this matter in which Google

must pay pre-suit damages for infringement of the ’961 patent.

                                        CONCLUSION

       For all the foregoing reasons, Google respectfully requests that the Court grant partial

summary judgment that Google is not liable for damages before WSOU filed this action.

Date: June 5, 2023                               Respectfully submitted,
                                                 /s/ Tharan Gregory Lanier, with permission by
                                                 Michael E. Jones
                                                 ____________________________________
                                                 Michael E. Jones (State Bar No. 10929400)

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                               mikejones@potterminton.com
                               Shaun W. Hassett (State Bar No. 24074372)
                               shaunhassett@potterminton.com
                               POTTER MINTON, P.C.
                               102 North College, Suite 900
                               Tyler, Texas, 75702
                               +1 (903) 597-8311
                               +1 (903) 593-0846 facsimile

                               Tharan Gregory Lanier
                               (California Bar No. 138784) (pro hac vice)
                               tglanier@jonesday.com
                               JONES DAY
                               1755 Embarcadero Road
                               Palo Alto, California, 94303
                               +1 (650) 739-3939
                               +1 (650) 739-3900 facsimile

                               Matthew S. Warren (California Bar No. 230565)
                               Jennifer A. Kash (California Bar No. 203679)
                               Erika Warren (California Bar No. 295570)
                               Francesca Miki Shima Germinario
                               (California Bar No. 326208)
                               Virginia G. Kain (California Bar No. 344545)
                               Sachli Balazadeh-Nayeri
                               (California Bar No. 341885)
                               WARREN LEX LLP
                               2261 Market Street, No. 606
                               San Francisco, California, 94114
                               +1 (415) 895-2940
                               +1 (415) 895-2964 facsimile
                               20-585@cases.warrenlex.com

                               Tracy A. Stitt
                               JONES DAY
                               51 Louisiana Avenue NW
                               Washington, DC 20001
                               +1 (202) 879-3641
                               tastitt@jonesday.com

                               Attorneys for Defendant Google LLC




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                               CERTIFICATE OF SERVICE

       I certify that on June 5, 2023, I filed the foregoing Google’s Motion for Summary

Judgment Under 35 USC § 287 under Local Rule CV-5 and served it on counsel of record

through the Court’s electronic filing system.

                                                   /s/ Michael E. Jones
                                                ______________________________________




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